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                    EXHIBIT 9
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS, ATTORNEY
GENERAL DANA NESSEL ON BEHALF
OF THE PEOPLE OF THE STATE OF
MICHIGAN, STATE OF ILLINOIS,
STATE OF ARIZONA, STATE OF
CALIFORNIA, STATE OF
CONNECTICUT, STATE OF COLORADO,
STATE OF DELAWARE, STATE OF
HAWAI’I, STATE OF MAINE, STATE OF
MARYLAND, STATE OF MINNESOTA,
STATE OF NEW JERSEY, STATE OF
NEW YORK, STATE OF NEVADA,
STATE OF NEW MEXICO, STATE OF
NORTH CAROLINA, STATE OF
OREGON, STATE OF RHODE ISLAND,
STATE OF VERMONT, STATE OF
                                              Case No. _______________________
WASHINGTON, and STATE OF
WISCONSIN,

       Plaintiffs,

                     v.

NATIONAL INSTITUTES OF HEALTH;
MATTHEW MEMOLI, M.D., M.S., in his
official capacity as Acting Director of the
National Institutes of Health; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; and DOROTHY
FINK, in her official capacity as Acting
Secretary of the U.S. Department of Health
and Human Services,

       Defendants.
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                            Declaration of Theresa A. Maldonado

   I, Theresa A. Maldonado, hereby declare:

1. I am a resident of the State of California. Since 2020, I have been employed by the

   University of California (UC), Office of the President, as the systemwide Vice President for

   Research & Innovation. In addition to my current role, I have a Ph.D. in electrical

   engineering and over 30 years’ academic experience.

2. As the UC system’s Vice President for Research & Innovation, I have personal knowledge of

   the matters set forth below, or have knowledge of the matters based on my review of

   information and records gathered by UC staff. If called as a witness, I could and would

   testify competently to the matters set forth below.

3. As Vice President for Research & Innovation, I lead UC researchers and administrators in

   research policy, funding for systemwide programs, and the innovation and entrepreneurship

   ecosystem. We work to build UC-wide partnerships, help shape effective policies and

   provide a strong voice nationally for research and innovation on behalf of UC.

4. As the systemwide leader for research and innovation, I work very closely with the Vice

   Chancellors for Research from each UC campus, and I am in regular contact with them to

   identify any issues impacting UC systemwide research, including concerns related to

   research funding.

5. I am providing this declaration to explain certain impacts of National Institutes of Health

   (“NIH”) Notice Number NOT-OD-25-068, Supplemental Guidance to the 2024 NIH Grants

   Policy Statement: Indirect Cost Rates (“Notice”), which purports to immediately reduce

   facilities and administrative costs payments (also known as indirect costs) to 15%.




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6. The UC system has 10 research-intensive campuses, six academic medical centers, 21 health

   professional sciences schools, multiple student health centers, and a statewide agriculture

   research and extension division. UC also manages three affiliated U.S. Department of Energy

   national laboratories, including the Lawrence Berkeley National Laboratory, the Lawrence

   Livermore National Laboratory, and the Los Alamos National Laboratory.

7. UC has more than 200,000 employees, making it California's third-largest employer. Its

   workforce purchases goods and contributes to local economies across the state. UC

   generates more than $80 billion in economic activity statewide.

8. The University’s 21 health professional sciences schools, five NCI-designated cancer centers,

   and six academic medical centers are widely recognized as among the best in the nation, and

   they are international leaders in the education of health professionals, in research that

   develops new cures and treatments, and in public service that provides healthcare for all

   Californians regardless of ability to pay.

9. UC is one of the nation’s leading research institutions, with almost 9% of all U.S. academic

   research being conducted by UC researchers.

10. Biomedical advancements at UC include the first radiation treatment for cancer, research

   contributing to the first flu vaccine, the discovery of the role of LDL and HDL cholesterol in

   heart disease, the invention of modern gene editing, and much more.

11. UC’s budget relies on federal funding for its research mission. The research mission at UC

   includes, but is not limited to, allocated funding for staffing, clinical trials, dissemination of

   results, public outreach, teaching and training students and others, equipment, and numerous

   other activities to fulfill the research mission and serve the people of California and the

   United States.



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12. Federal funds are UC’s single most important source of support for its research, accounting

   for more than half of UC’s total research awards.

13. In FY 2023, the total amount of federal research awards to UC was over $3 billion.

14. NIH research funding supports the United States’ scientific competitiveness worldwide and

   enables the US to be a global innovation leader. NIH research funding has led to scientific

   breakthroughs that have improved human health, including new treatments for cancer and

   diabetes, and declining death rates for heart attack and stroke.

15. Recovering costs of research is essential to maintain the operations of a research university

   like UC. To perform research that is sponsored by federal agencies, UC incurs a variety of

   other significant costs that it would not otherwise incur. Facilities and administrative cost

   rates apply to federally-sponsored research, providing a means of recovering some, but not

   all, of the costs incurred in the conduct of externally sponsored research that are shared

   across a large number of projects as well as other functions of the university. They include

   things such as the maintenance of sophisticated, high-tech laboratories designed for cutting-

   edge federally sponsored research, secured cyberinfrastructure and data repositories, utilities

   such as light and heat, telecommunications, hazardous waste disposal, and the infrastructure

   necessary to comply with a broad range of legal, regulatory, and reporting requirements.

   These resources not only support the infrastructure and buildings that house pioneering

   research teams, but also the personnel who assure the safety of adults and children enrolling

   in clinical trials for cancer and chronic disease, the ethics teams that assure those trials are

   done safely, and the data and privacy teams that protect research subjects’ personal data.

16. In FY 2023, UC received a total of over $2 billion in NIH contract and grant funding. A

   significant portion of that funding is derived from facilities and administrative cost



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   reimbursements, which are set at a higher negotiated rate than set forth in the NIH Notice.

   UC is likely facing a loss of hundreds of millions of dollars annually in facilities and

   administrative cost recovery as a result of the NIH Notice. The loss of facilities and

   administrative cost reimbursements, especially at this level, will have an immediate

   deleterious impact on the success of the research projects and our ability to maintain the

   same level of staffing critical to support those research projects.

17. Research funding is typically awarded through competitive grants processes, meaning that

   the annual research budget varies from year to year and is dependent on the success of UC’s

   researchers in these competitions. Federally supported research comes to UC campuses in a

   combination of both single- and multi-year awards. NIH awards are typically multi-year

   projects. UC campuses receive and expend hundreds of millions of dollars annually in multi-

   year awards for their projects, centers, and institutes, and can proceed with establishing

   budget estimates for planning purposes in reliance on the facilities and administrative cost

   recovery rates periodically negotiated between individual campuses and the federal

   government (the Department of Health and Human Services) that set rates for three to five

   years.

18. NIH promotes medical research, education, training, and practice at UC and other

   universities through a strategic combination of funding for many individual research projects,

   as well as support for a few very large, long-term research programs and centers that involve

   multiple institutions through subawards. Program awards, unlike the thousands of individual

   investigator awards to UC from NIH, may receive continuous funding for periods of over

   five years before NIH again opens the program to competitive renewal. Some of these




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   programs put UC in a grant management role, redistributing NIH’s funding through

   subawards to other institutions nationwide as well as to UC researchers.

19. In developing its annual budget, UC did so with the expectation that it would receive the

   substantially higher facilities and administrative cost recovery rates that had been negotiated

   and memorialized in a contract with the Department of Health and Human Services through

   the designated legal process. The NIH Notice’s sudden reduction in anticipated federal funds

   will cause budgetary and operational chaos that will have an immediate negative impact on

   the research projects and programs.

20. The NIH Notice creates confusion and uncertainty for UC and the programs we oversee. The

   reduction in facilities and administrative costs ordered by the NIH Notice will leave gaping

   holes in the budgets that support the facilities and staff where UC research occurs and will

   stop us from serving and meeting some of our critical missions, including education, patient

   care, and research.

21. On an annual basis, the federal government is the largest single sponsor of UC’s research

   enterprise. Because of the cap created by the NIH Notice, many individuals (including

   faculty, staff, and students), programs, and initiatives receiving federal funding almost

   certainly would be forced to significantly scale back or halt their research. This outcome will

   be potentially devastating to the research projects, to the training of new medical personnel,

   and to the University’s research enterprise, regardless of discipline.

22. The reduction of federal funding to the UCs as set forth in the NIH Notice would be

   devastating for the system. It would result in broad reduction of services, including impact on

   education, delivery of care to patients, and research.




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   I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

   Executed this 9th day of February, 2025, in    Oakland , California.



                                                     _______________________________

                                                     Theresa A. Maldonado, Ph.D., P.E.
                                                     Vice President for Research & Innovation
                                                     University of California, Office of the
                                                     President




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